AO 472 (Rev. 11/16) Order of Detention Pending Trial




                                       UNITED STATES DISTRICT COURT                                   MAY   302019
                                                                   for the
                                                          Western District of Texas
                                                                                                   VJESTERM oS
                                                                                                                        DEPU
                      United States of America
                                       V.
                                                                                        Case No. r'/-   Cit -   3   o       0/2-
             P41f                 itrJc(i2)
                                  Defendant




                                                         DETENTION ORDER
                                                       Part I - Eligibility for Detention
 Upon motion of:        2e
                        o
                              Government, in a case involving an enumerated offense, 18 U.S.C. § 31 42(f)( 1), or
                          the Government or Court, in a case involving a serious flight risk, 18 U.S.C. § 3 142(f)(2)(A), or
                        o the Government or Court, in a case involving serious obstruction risk, 18 U.S.C. § 31 42(f)(2)(B),
the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings of
fact and conclusions of law, as required by 18 U.S.C. § 3 142(i), in addition to any other findings made at the hearing.

                              Part II - Findings of Fact and Law as to Presumptions under      § 3 142(e)

            Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics,firearm, other offenses):
        There is a rebuttable presumption that no condition or combination of conditions will reasonably assure the
        appearance of the defendant as required and the safety of the community because there is probable cause to
        believe     t the defendant committed an offense:
             IB'(l) for which a maximum term of imprisonment of 10 years or more is prescribed in the
                controlled Substances Act (21 U.S.C. § 80 1-904), the Controlled Substances Import and
                Export Act (21 U.S.C. § 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. § 70501-70508);
             o (2) under 18 U.S.C. § 924(c) (firearm), 956(a) (violent foreign conspiracy), or 2332b (terrorism);
             O (3) listed in 18 U.S.C. § 2332b(g)(5)(B) (terrorism-related offenses) for which a maximum term of
                imprisonment of 10 years or more is prescribed;
             O (4) under 18 U.S.C. § 1581-1597 (slavery and human trafficking) for which a maximum term of
                imprisonment of 20 years or more is prescribed; or
             0(5) involving a minorvictim under 18 U.S.C. § 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
                2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
                2260, 2421, 2422, 2423, or 2425.

   O B.     Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (prior pretrial release violator): There is
        a rebuttable presumption that no condition or combination of conditions will reasonably assure the safety of any
        other person and the community because the following conditions have been met:
             0(1) the defendant is charged with oneof the following crimes described in 18 U.S.C. § 3142(0(1):
                   O (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                      § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                   O (b) an offense for which the maximum sentence is life imprisonment or death; or
                                                                                                                        Page   1   of3
AO 472 (Rev. 11/16) Order of Detention Pending Trial (Modified)


                      o (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                         Controlled Substances Act (21 U.S.C. § 801-904), the Controlled Substances Import and Export
                         Act (21 U.S.C. § 95 1-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. § 70501-70508); or
                     o (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                         (a) through (c) of this paragraph, or two or more State or local offenses that would have been
                         offenses described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to
                         Federal jurisdiction had existed, or a combination of such offenses; or
                     o (e) any felony that is not otherwise a crime of violence but involves:
                         (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C.
                         § 921); (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
              O   (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.s.c.
                  § 3142(0(1), or of a State or local offense that would have been such an offense if a circumstance giving
                  rise to Federal jurisdiction had existed; and
              o   (3) the prior conviction described in paragraph (2) involves an offense committed while the
                  defendant was on release pending trial for a Federal, State, or local offense; and
              o   (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
                  defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

       C. Conclusions Regarding Applicability of Any Presumption Established Above

              O The defendant has not introduced sufficient evidence to rebut the presumption above, and detention           is
                ordered on that basis. (Part III need not be completed.)



                      defendant has presented evidence sufficient to rebut the presumption, but after considering the
                  presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention
      After considering the factors set forth in 18 U.S.C. § 3 142(g) and the information presented at the detention
hearing, the Court concludes that the defendant must be detained pending trial because:

   O Flight Risk:   The government proved by a preponderance of evidence that no condition or combination of
                 of
       conditions release will reasonably assure the defendant's appearance as required.

   o Dangerousness:       The government proved by clear and convincing evidence that no condition or combination
       of conditions of release will reasonably assure the safety of any other person and the community.




                                                                                                                     Page 2 of 3
AO 472 (Rev. 11/16) Order of Detention Pending Trial (Modified)




In addition to any findings made on the record at the hearing, the reasons for detention include the following:

        Itture of offense (drugs, violence, firearm, explosive, child sex trafficking, minor victim, terrorism)
        R'Subject to lengthy period of incarceration if convicted
        D)W'eight of evidence against the defendant is strong (least important factor)
           Ijistory of violence or use of weapons
          '?fior attempt(s) to evade law enforcement or escape
                     criminal history
        E'Prior failure(s) to appear             in court as ordered
        o    9n probation, parole, or supervision during the current offense/arrest
        R'1rior violations of probation, parole, or supervised release
        o   Lack of stable residence in this district
        O   Lack of legal status in the United States, or subject to removal/deportation after incarceration
        o   Lack of significant family ties to this district
        o   Significant family or other ties outside the United States
        0   Lack of significant community ties to this district
        o Lack of stable employment in this district
        o Jiack of financially responsible sureties
        Ij' Prior dishonest conduct, false statements, or fraud
        o se of alias(es) or false documents
        I'History of alcohol or substance abuse
        o Lack of financial ties to this district
        o Unstable mental condition

OTHER REASONS OR FURTHER EXPLANATION:
All the reasons stated on the record at the detention hearing.




                                                  Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney Genera!' s designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. The defendant must be afforded a reasonable opportunity
for private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the correctio                         fijty
                                                                        must deliver the defendant to a United States
Marshal  for the purpose of an appearance  in connection



Date:
                                                                  Honorable Richard B. Farrer
                                                                  United States Magistrate Judge
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